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                         UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF IOWA



Cierra Speller, et al

                                            CIVIL NUMBER: 4:22-cv-00007-SHL-HCA
                        Plaintiff(s),

 v.                                         JUDGMENT IN A CIVIL CASE

Portfolio Recovery Associates, LLC, et
al

                        Defendant(s),


         JURY VERDICT. This action came before the Court for trial by jury. The issues have
 been tried and the jury has rendered its verdict.


      ✔ DECISION BY COURT. This action came before the Court. The issues have been
 considered and a decision has been rendered.



          IT IS ORDERED AND ADJUDGED:
Defendant's Motion to Dismiss is Granted. Judgment is entered in favor of respondent
against petitioner. Case closed.



 Date: August 22, 2022
                                                    CLERK, U.S. DISTRICT COURT


                                                    /s/ B.German
                                                    _____________________________
                                                    By: Deputy Clerk
